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                      UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,                   Case No. 1:06-CR-126-BLW

              Plaintiff,                     FINAL ORDER OF FORFEITURE
       vs.                                   AS TO SANTA ROSA CREEK
                                             ROAD PROPERTY, TEMPLETON,
 GREGORY F. SPEROW, et al.,                  CALIFORNIA

              Defendant.




      WHEREAS, the Court entered a Preliminary Order of Forfeiture for Gregory

Frank Sperow on June 26, 2009 (Docket No. 872); said Preliminary Order of

Forfeiture was based upon the Amended Rule 11 Plea Agreement for Gregory

Frank Sperow (Docket No. 666), ordering said defendant to forfeit properties as a

result of federal drug and money laundering violations which he committed; said

order forfeited defendant=s interests in certain properties, including the real

property which is the subject of this final order, located at Santa Rosa Creek Road,

Templeton (rural Adelaide), California, San Luis Obispo County, California, APN:

014-192-015 (hereinafter ASanta Rosa Property@);




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      AND WHEREAS, the United States caused notice of the above-referenced

forfeiture order to be published and served in accordance with the requirements of

Federal Rule of Criminal Procedure 32.2(b)(6), including publication on an official

government internet site (www.forfeiture.gov), as required by Rule G(4)(a)(iv)(C)

of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions, as required by Federal Rule of Criminal Procedure 32.2(b)(6)(C);

      AND WHEREAS, the following were served with notice of the forfeiture

action as to the Santa Rosa Property:

             a.    Jeffrey Sperow was served on August 4, 2009, and no claim

             was made. Mr. Sperow died on February 2, 2015.

             b.    Kenneth Weitzman: was served on August 3, 2009, and made

             no claim.


      AND WHEREAS, no proper claims by any persons or entities were filed as

to the Santa Rosa Property, and the letter of Bruce Borjesson (docket no. 1254)

shall be stricken below ;

      NOW, THEREFORE, IT IS HEREBY ORDERED, that the motion for

forfeiture (docket no. 1256) is GRANTED.




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      IT IS FURTHER ORDERED that the United States Department of Treasury

shall forthwith seize the Santa Rosa Property, and dispose of said property in

accordance with the law, which property is more particularly described as follows:

      PARCEL 1:

      The Northwest quarter of the Southwest quarter of Section 28, in Township 27 South,
      Range 10 East, Mount Diablo Base and Meridian, in the County of San Luis Obispo,
      State of California, according to the official plat of said land approved by the Surveyor
      General on January 30, 1880.

      PARCEL 2:

      Parcel A of Parcel Map COAL 75-366, in the County of San Luis Obispo, State of
      California, according to map recorded October 4, 1976 in Book 20, Page 96 of Parcel
      Maps, in the office of the County Recorder of said County, and Certificate of Correction
      recorded January 24, 1977 in Book 1951, Page 616 of Official Records.

      EXCEPTING therefrom all minerals in and to that portion of Parcel A of Parcel Map
      COAL 75-366, as reserved by Beny Bianchi and Emilia Bianchi, by deed dated August
      17, 1920 in Book 140, Page 161 of Deeds, lying within the East one-half of the
      Northwest one-quarter of said Section 28, Township 27 South, Range 10 East, Mount
      Diablo Base and Meridian.


      IT IS FURTHER ORDERED that the United States shall have and has clear

title to the Santa Rosa Property, and the United States may warrant good title to

said property to any subsequent purchaser or transferee pursuant to 21 U.S.C.

'853(n)(7).

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right,

title, and interest to the Santa Rosa Property is hereby condemned, forfeited and

wholly vested in the United States, its agents and/or designees, and that no claim of

interest in said Santa Rosa Property shall exist in any other person or entity, and

that said Subject Property shall be disposed of according to law.

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      IT IS FURTHER ORDERED that any and all forfeited funds as a result of

the United States Department of Treasury=s management of the Santa Rosa

Property forfeited herein, and any proceeds from the sale of the Santa Rosa

Property, after the payment of costs and expenses incurred in connection with the

forfeiture, sale and disposition of the Santa Rosa Property, shall be deposited

forthwith by the United States Department of Treasury into the Treasury Asset

Forfeiture Fund.

      IT IS FURTHER ORDERED that the United States District Court shall

retain jurisdiction in the case for the purpose of enforcing this Order and as to

related forfeiture matters herein; and

      IT IS FURTHER ORDERED that all parties herein shall bear their own

costs and fees.

      IT IS FURTHER ORDERED that the motion to strike the letter of Bruce

Borjesson (docket no. 1255) is GRANTED and that the letter (docket no. 1254) be

deemed stricken from the record.



                                              DATED: December 29, 2016


                                              _________________________
                                              B. Lynn Winmill
                                              Chief Judge
                                              United States District Court



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